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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-2(c)

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; Attorney for Debtors

{

In Re: Case No.: 10-36552/CMG

|
Chapter: 13
LOUIS F. SANTOS CASTILLO

Hearing Date: 10/1/14
Debtor(s).

| Judge: Christine M. Gravelle

CHAPTER 13 DEBTOR’S CERTIFICATION IN OPPOSITION TO
[_] CREDITOR’S MOTION or CERTIFICATION OF DEFAULT
TRUSTEE’S MOTION or CERTIFICATION OF DEFAULT

The Debtors in the above-captioned Chapter 13 proceeding hereby object to
the following:

1. LJ Motion for Relief from the Automatic Stay filed by

, creditor. A hearing has been scheduled for , 2014 at
9:00 am.
OR
Motion to Dismiss filed by the Standing Chapter 13
Trustee. A hearing has been scheduled for , 2014 at 9:00 am.
LJ Certification of Default filed by , creditor. Iam

requesting a hearing be scheduled on this matter.
OR
LJ Certification of Default filed by Standing Chapter 13
Trustee. | am requesting a hearing be scheduled on this matter.
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2 [} Payments have been made in the amount of
$ __, but have not been accounted for.

Documentation in support is attached hereto.

2 (] Payments have not been made for the following
reasons and debtor proposes repayment as follows: I

expect to have sufficient funds to bring my account
current by the hearing date in this matter.

2 [] Other:

3. This certification is being made in an effort to resolve the issues
raised by the creditor in its Motion.
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4, I certify the above facts to be true. I am aware that if the above
facts are willfully false, I am subject to punishment.

Date: 4 do | if pupal

Louis F. Santos Castillo

